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                           DECLARATION OF ADONIA SIMPSON

I, Adonia Simpson, declare pursuant to 28 U.S.C. § 1746, as follows:

   1. My name is Adonia Simpson. I am an attorney in good standing currently licensed in the
      state of Massachusetts. I am the Deputy Director for Policy and Pro Bono at the
      American Bar Association (ABA) Commission on Immigration (COI).

   2. As I have stated in my declaration dated February 24, 2025, in the case Las Americas v.
      Noem, No. 1:25-cv-418 (D.D.C.), I supervise COI’s national detention hotline, and make
      this declaration based on my personal experience.

   3. On February 26, 2025, staff from Immigration and Customs Enforcement headquarters
      informed me that notice and information about the ABA detention hotline had been
      posted and is now available to individuals detained at Guantanamo.

   4. I have reviewed the declaration of Robert Green, filed at ECF No. 14-1 in this case,
      which stated that “ICE personnel have tested the phone lines, to include making a call to
      the ABA attorney referral line, to confirm its operation and functionality.” We have
      reviewed our call history for the hotline and on March 5 at 4:28 PM Eastern Time, 4:29
      PM Eastern Time, 5:05 PM Eastern Time, and 6:19 PM Eastern Time we received calls
      from Navy Norfolk Va. However, this was not during our hours of operation, so calls
      went directly to a recorded greeting, and we were unable to confirm that the calls
      originated from Guantanamo. I shared the ABA hotline’s hours of operation in my
      original declaration executed on February 24, 2025. The hours of operation of our
      hotline are Mondays, Wednesdays, and Fridays from 9 am-12 pm, and 1 pm-2 pm ET;
      and Tuesdays and Thursdays from 9 am - 12 pm, and 1 pm - 5 pm ET. See Las Americas
      v. Noem, ECF No. 17-6 (Declaration of Adonia Simpson).

   5. In addition, since the ABA detention hotline launched on February 19, 2025, the hotline
      has received no calls at all from individuals detained at Guantanamo. This is in stark
      contrast to calls from other detention centers, where we receive, on average, 211 calls
      each weekday. This includes calls from ICE detainees held in segregation.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 12th day of March, 2025, in Baltimore, Maryland.


/s/ Adonia Simpson
Adonia Simpson
